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               15
               16                          UNITED STATES DISTRICT COURT
               17           CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
               18      DELUX PUBLIC CHARTER, LLC D/B/A
                       JSX AIR AND JETSUITEX, INC.,                   Case No. 8:20-cv-2344-JLS (KESx)
               19
                                                              Plaintiffs, DECLARATION OF WILLIAM
               20      v.                                                 BORGSMILLER IN SUPPORT OF
                                                                          PLAINTIFFS’ EX PARTE
               21      COUNTY OF ORANGE, CALIFORNIA, a                    APPLICATION FOR TEMPORARY
                       charter county; BARRY RONDINELLA in his RESTRAINING ORDER AND ORDER
               22      official capacity as Airport Director of John      TO SHOW CAUSE WHY
                       Wayne Airport,                                     PRELIMINARY INJUNCTION
               23                                                         SHOULD NOT ISSUE
                                                            Defendants.
               24
               25
               26
               27
               28
COOLEY LLP
ATTORNEYS AT LAW                                                        DECLARATION OF WILLIAM BORGSMILLER
   SAN DIEGO                                                                IN SUPPORT OF PLAINTIFFS’ EX PARTE
                                                                                                  APPLICATION
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                   1         I, William Borgsmiller, declare as follows:
                   2          1.    I am the founder and an owner of Aviation Consultants, Inc. d/b/a ACI
                   3   Jet (“ACI Jet”). I have personal knowledge of the facts set forth herein and, if called

                   4   upon to testify, could and would testify competently thereto.

                   5         2.     ACI Jet is a Fixed Base Operator (“FBO”) at John Wayne Airport

                   6   (“JWA” or the “Airport”). ACI Jet operates at JWA through a lease with the County

                   7   of Orange (the “County”). ACI Jet currently leases space to Plaintiff Delux Public

                   8   Charter, LLC d/b/a JSX Air (“JSX”), and JSX remains a valued customer of ACI Jet.

                   9   During the lease negotiation process, ACI Jet would have preferred to continue

               10      providing services to JSX as evidenced by its request for a transition period from the

               11      County and its communications to various local communities and airport groups.

               12            3.     If the County had not inserted a restriction in the FBO lease (that was

               13      not in the sample lease provided in the RFP package) prohibiting the operations

               14      of Regularly Scheduled Commercial Users, ACI Jet would continue to sublet space

               15      to JSX to allow it to continue to operate its regularly scheduled charter

               16      operations through at least December 31, 2022.             (The transition period that

               17      ACI requested and discussed with various local communities in Orange County.)

               18            4.     ACI Jet has not taken any action to continue providing services to JSX

               19      because after being selected as a Successful Proposer and during lease negotiations,

               20      but prior to final award of the Lease, the County made it clear that the provision

               21      restricting Regularly Scheduled Commercial Users was “non-negotiable”.

               22            5.     Should the County change its position and determine that a transition

               23      period up to the 2 year period requested by ACI and communicated by ACI to the

               24      surrounding communities is feasible, ACI Jet remains ready, willing and able to

               25      provide facilities and services to support such operations.

               26            I declare under penalty of perjury under that the foregoing is true and correct.

               27      Executed this 17th day of December, 2020 in San Luis Obispo, California.

               28
COOLEY LLP
                                                                     William Borgsmiller, Declarant
ATTORNEYS AT LAW                                                             DECLARATION OF WILLIAM BORGSMILLER
   SAN DIEGO                                                     2               IN SUPPORT OF PLAINTIFFS’ EX PARTE
                                                                                                       APPLICATION
